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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA
                                                                             CRIMINAL ACTION
                V.                                                           NO. 24-10090-WGY

            HUNTER et al




                                      INITIAL SCHEDULING ORDER

  YOUNG,D.J.

       The above named defendant(s) having been arraigned on April 23, 2024 before Magistrate
Judge Jennifer C. Boal , and having elected to proceed under the automatic discovery rules, IT IS
HEREBY ORDERED in accordance with Local Rules (LR) 116.1 through 116.5 that:


       A.       The government shall provide automatic discovery by 5/21/2024 . See L.R116.1(C).


       B.       The defendant shall provide automatic discovery by 5/21/2024 . See LR 116.1(D).


       C.       Any discovery request letters shall be sent and filed by 6/4/2024 . See LR 116.3 (A) and
                (H).
       D.       Any responses to discovery request letters shall be sent and filed by 6/18/2024 . See
                LR 116.3(A).


       E.       An initial status conference in accordance with LR 116.5 will be held on June 3, 2024
                at     2:00 p.m. in Courtroom No. 18 on the 5th floor.




                                                             By the Court,


 May 15, 2024                                                 /s/ Jennifer Gaudet
Date                                                         Deputy Clerk
